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            Exhibit 
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From:            AttorneyLambert
To:              Elizabeth Hadaway
Cc:              Marc Eisenstein; Driscoll, Robert; Carry, Alfred; Plunkett, Daniel T.; Amanda Oliver; Andrew Parker; Bethany Pickett Shah;
                 blades@parkerdk.com; Carl C. Butzer; Charles L. Babcock; Chris Kachouroff; Christina Vitale; Dominion ListserveSusmanGodfrey;
                 Christopher Grecian; Daniel Marvin; David C. Tobin; David Myers; Elizabeth Wright; Gregory M. Singer; Jill Thorvig; Joel R. Glover; John
                 F. Lauro; John K. Edwards; Jonathan D. Neerman; Joseph A. Pull; Joseph D. Sibley; Joshua Mooney; Lori Johnson; Marc S. Casarino;
                 Minoo S. Blaesche; Nancy W. Hamilton; Nathaniel R. Greene; Robert Cynkar; Roxanne A. Russell; Teresa Cinnamond; Trent McCotter
Subject:         RE: Byrne/Dominion - Substitution of Counsel
Date:            Tuesday, March 12, 2024 7:32:43 PM
Attachments:     image001.png


EXTERNAL Email
Hi Elizabeth,

I had assumed that you, as counsel, were unaware of the criminal acts contained in discovery. These acts
include, but are not limited to, perjury, fraud is services, wire fraud, and international interference in an
election.

If you were aware of the criminal acts, I will need to address fraud on the court and potentially accessory after
the fact with threats of violating a protective order that does not extend to criminal acts committed by your
client.

My client insisted the evidence of criminal acts be provided to law enforcement.

I’m happy to address this with the court.

Please let me know if you need anything else.

Sincerely,

Stefanie



Sent from Proton Mail for iOS


On Tue, Mar 12, 2024 at 8:13 PM, Elizabeth Hadaway <EHadaway@susmangodfrey.com> wrote:

        Marc: See Ex. A to the 2024-02-11 Email from R Driscoll to Dominion Counsel
        re Breach of Protective Order, which was an attachment to the email I sent.
        Screenshot here:
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Elizabeth Hadaway | Susman Godfrey LLP
o. 713.653.7856 | c. 512.431.7965
ehadaway@susmangodfrey.com
1000 Louisiana St. | Suite 5100 | Houston, Texas 77002
HOUSTON • LOS ANGELES • SEATTLE • NEW YORK



From: Marc Eisenstein <marc@coburngreenbaum.com>
Sent: Tuesday, March 12, 2024 7:08 PM
To: Elizabeth Hadaway <EHadaway@susmangodfrey.com>
Cc: Driscoll, Robert <rdriscoll@mcglinchey.com>; Carry, Alfred <acarry@mcglinchey.com>;
AttorneyLambert <AttorneyLambert@protonmail.com>; Plunkett, Daniel T.
<dplunkett@mcglinchey.com>; Alfred D. Carry <acarry@mcglinchey.com>; Amanda Oliver
<Oliver@parkerdk.com>; Andrew D. Parker <parker@parkerdk.com>; Bethany Pickett Shah
<bpickett@jw.com>; blades@parkerdk.com; Carl C. Butzer <cbutzer@jw.com>; Charles L. Babcock
<cbabcock@jw.com>; Chris Kachouroff <chris@mck-lawyers.com>; Christina Vitale <cvitale@jw.com>;
Dominion ListserveSusmanGodfrey <DOMINION@lists.susmangodfrey.com>; Christopher Grecian
<Grecian@parkerdk.com>; Daniel Marvin <Daniel.Marvin@kennedyslaw.com>; Daniel T. Plunkett
<dplunkett@mcglinchey.com>; David C. Tobin <dctobin@tobinoconnor.com>; David Myers
<dmyers@jw.com>; Elizabeth S. Wright <wright@parkerdk.com>; Gregory M. Singer
<gsinger@laurosinger.com>; Jill Thorvig <thorvig@parkerdk.com>; Joel R. Glover <jglover@jw.com>;
John F. Lauro <jlauro@laurosinger.com>; John K. Edwards <jedwards@jw.com>; Jonathan D. Neerman
<jneerman@jw.com>; Joseph A. Pull <pull@parkerdk.com>; Joseph D. Sibley
<sibley@camarasibley.com>; Joshua Mooney <joshua.mooney@kennedyslaw.com>; Lori Johnson
<Johnson@parkerdk.com>; Marc S. Casarino <marc.casarino@kennedyslaw.com>; Minoo S. Blaesche
<mblaesche@jw.com>; Nancy W. Hamilton <nhamilton@jw.com>; Nathaniel R. Greene
<greene@parkerdk.com>; Robert Cynkar <rcynkar@mck-lawyers.com>; Robert N. Discoll
<rdriscoll@mcglinchey.com>; Roxanne A. Russell <Russell@parkerdk.com>; Teresa Cinnamond
<Teresa.Cinnamond@kennedyslaw.com>; Trent McCotter <mccotter@boydengrayassociates.com>
Subject: Re: Byrne/Dominion - Substitution of Counsel

EXTERNAL Email
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Can you share a copy of the signed undertaking referenced in your email?

There is one reference to Ms. Lambert that says Mr. Lambert.


      Dominion has to date received no assurance from Mr. Byrne’s
      counsel as to whether Mr. Lambert continues to retain

Sent from my iPhone



      On Mar 12, 2024, at 7:51ථPM, Elizabeth Hadaway <EHadaway@susmangodfrey.com>
      wrote:



      All:

      Pursuant to the Court’s orders, we intend to raise Mr. Byrne’s
      counsel breach of the Amended Protective Order and purported
      withdrawal and substitution of counsel to the Court. See draft
      email to the Court below. Please let us know if you consent by
      today, March 12, 2024, at 9:30pm ET.

      We also request the following information be provided by end of
      day, March 14, 2024:

          Attorneys for Mr. Byrne, please provide a list of all persons that
                you, your legal team, or your client Mr. Byrne have given
                access to Dominion’s documents produced in this
                litigation.

          Counsel for all parties, please confirm whether: (1) You have
               provided Ms. Lambert with access to any Dominion-
               produced documents; (2) Ms. Lambert has historically or is
               currently representing your clients in this litigation or any
               other litigation related to the 2020 Presidential Election;
               and (3) To the extent you are aware, whether Ms. Lambert
               is representing any third parties associated with your
               client (including The America Project and the Lindell Legal
               Offense Fund) in this or any other litigation related to the
               2020 Presidential Election.

      We received notice of Ms. Lambert’s appearance and, at Mr. Carry’s
      request in his email below, have added her to this thread. Given the
      current circumstances, however, we ask that at least one of those
      McGlinchey attorneys who represented Mr. Byrne until today, Mr.
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    Driscoll and Mr. Carry, attend Monday’s hearing. Please let us know
    as soon as possible who will be there.

    ***
    Dear Judge Nichols, Judge Upadhyaya, and Chambers:

    [With consent of Defendants], Dominion brings to the attention of
    Your Honors, Judge Nichols and Judge Upadhyaya, an urgent matter
    regarding breach of the June 16, 2023, Amended Protective Order,
    attached hereto. See Byrne Dkt. 46; see also Powell Dkt. 82; Lindell
    Dkt. 165; Giuliani Dkt. 55. We submit this matter to Your Honors
    concurrently given that the Protective Order was signed by Judge
    Nichols, but discovery disputes have been referred to Judge
    Upadhyaya.

    On March 11, 2024, Mr. Robert Driscoll, counsel for Mr. Byrne,
    alerted counsel for Dominion to the fact of the breach in an email,
    attached hereto with its attachments, stating:

          It has recently come to our attention that Confidential
          Discovery Material produced by Dominion in this case has
          been disclosed in a public filing in Michigan by Stefanie
          Lambert. Ms. Lambert had access to Confidential
          Discovery Material as an attorney for Patrick Byrne who
          was assisting in this litigation. Prior to her gaining access
          to any Confidential Discovery Material, she signed an
          Undertaking in which she agreed to use all Discovery
          Material only as permitted by the Protective Order.
          Attached is a copy of her signed Undertaking.

          Dominion’s Confidential Discovery Material appears to
          have been shared with a non-party (i.e., Sheriff Dar Leaf of
          Barry County, Michigan) by Stefanie Lambert and publicly
          disclosed by her as part of a filing she made in the criminal
          case styled People of the State of Michigan vs. Stefanie
          Lynn Lambert Junttila, which is currently pending before
          the Sixth Circuit Court in Oakland County, Michigan as
          Case Number 2023-285759-FH….

    The same day, Dominion’s Co-Lead Counsel Ms. Davida Brook
    responded and requested more information about the scope and
    extent of the breach and about counsel’s remedial efforts. A copy of
    Ms. Brook’s email is attached hereto as well. Ms. Brook also
    communicated Dominion’s intent to raise the issue on the following
    day’s previously scheduled meet and confer concerning the parties’
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    Joint Status Report and at the upcoming March 18, 2024 hearing.
    Id.

    On the next day, today, March 12, 2024, the Parties met by Zoom to
    discuss this Joint Status Report. During that conference, Ms. Brook
    raised the need to add the breach to this Joint Status Report and
    alert the Court at the March 18 Hearing, and Mr. Driscoll agreed.

    Then, earlier this afternoon, Ms. Stefanie Lambert, the attorney who
    has violated the Amended Protective Order, filed a Notice of
    Appearance on behalf of Mr. Byrne. Subsequently, Mr. Byrne’s
    longtime counsel of record, the McGlinchey lawyers, purported to
    withdraw as counsel. Dominion has to date received no assurance
    from Mr. Byrne’s counsel as to whether Mr. Lambert continues to
    retain Dominion confidential information or whether she has
    stopped violating the protective order or intends to take any
    remedial measures to cabin and remedy this breach.

    Dominion notified Defendants of its intent to raise this matter with
    the Court in the attached email.

    Dominion urgently seeks the Court’s assistance to address and
    contain the breach caused by Mr. Byrne’s counsel. We ask for the
    Court to permit an emergency hearing before Judge Nichols or
    Judge Upadhyaya, or for permission to raise this issue at the March
    18 hearing.

    Respectfully submitted,

    ****

    Thanks,
    Elizabeth Hadaway | Susman Godfrey LLP
    o. 713.653.7856 | c. 512.431.7965
    ehadaway@susmangodfrey.com
    1000 Louisiana St. | Suite 5100 | Houston, Texas 77002
    HOUSTON • LOS ANGELES • SEATTLE • NEW YORK



    From: owner-dominion@lists.susmangodfrey.com <owner-
    dominion@lists.susmangodfrey.com> On Behalf Of Carry, Alfred
    Sent: Tuesday, March 12, 2024 4:59 PM
    To: Dominion ListserveSusmanGodfrey <DOMINION@lists.susmangodfrey.com>;
    AttorneyLambert <AttorneyLambert@protonmail.com>
    Cc: Driscoll, Robert <rdriscoll@mcglinchey.com>; Plunkett, Daniel T.
    <dplunkett@mcglinchey.com>
    Subject: Byrne/Dominion - Substitution of Counsel
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    EXTERNAL Email
    Dear counsel,

    Today Stefanie Lambert entered an appearance in this case on behalf of Patrick Byrne.
    Subsequently, McGlinchey and its counsel of record filed a notice to withdraw. Please
    substitute Ms. Lambert on all of the appropriate email distribution lists for this case.
    Thank you,
    Alfred


     Alfred D. Carry
     Attorney at Law

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     1275 Pennsylvania Avenue NW, Suite 420, Washington, DC 20004
     T (202) 802-9951 F (202) 330-5897

     bio | vCard | mcglinchey.com
     Alabama California Florida Louisiana Massachusetts Mississippi New York
     Ohio Rhode Island Tennessee Texas Washington Washington, DC




     <image001.png>                                          <image002.png>




    www.mcglinchey.com

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    <2024-03-12 Email from D Brook to R Driscoll re Breach of Protective Order.pdf>
